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VIA ECF
      F FILING
                                                                          A
                                                                          August 8, 20117
Honorable Peggy Kuo     o
United Sttates Magistrrate Judge
United Sttates Districtt Court
Eastern District
        D        of New York
225 Cadmman Plaza Eaast
       n, New York 11201
Brooklyn

                Re:     Meng Meng Lin v. City off New York, ett al. 16-CV-22270

Dear Maggistrate Judgee Kuo:

         I am an attorn ney representing the Plain
                                                 ntiff, Meng M
                                                             Meng Lin, inn the above-rreferenced m  matter.
I respectffully submit this
                        t Reply lettter in complliance with thhis Court’s oorder and in ffurther suppo
                                                                                                     ort of
Plaintiff’ss motion to compel
                        c       defenndants to com
                                                 mply with Feed. R. Civ. PP. 26(b)(1), duue to Defenddants’
failure too respond to  o Plaintiff’s demands fo or productioon of docum    ments discovered duringg the
Defendan   nts’ depositio
                        ons.

       At
       A the deposiitions in Junee 2017, my office
                                               o       asked ddefendants’ ccounsel multtiple times fo
                                                                                                    or the
“medical treatment fo orm” and thee “line-of-duuty paperworrk”. See Ex. A, B, of mo  otion. On Juune 8,
2017, myy office wrotee to Mr. Brusstein requestiing the same documents. See Ex. C of motion.

        Only
        O     after plaaintiff filed the
                                     t instant motion
                                                 m      to coompel, has M
                                                                        Mr. Brustein produced a one-
page doccument that he purporteed to be thee “line-of-duuty paperwoork”. My offfice emailedd Mr.
Brustein asking abouut the other document we     w requestedd in our mootion to com mpel: the meedical
treatmentt form. See Email,
                      E        attached herein as Ex. A. Mr. Brustein ressponded igno
                                                                                    oring my queestion.
See Id. Th
         hat is the paattern of com mmunicationss with Mr. B
                                                           Brustein: He iignores our qquestions; m
                                                                                                 making
phone calls futile.

        Both
        B     the doocuments reqquested in Plaintiff’s m  motion are still outstan  nding: 1) meedical
treatmentt form and 2)
                    2 the line-of--duty paperw
                                             work. “Paperrwork” referrs to multiplee pages, whicch the
one-page document th hat Mr. Brusstein emailed
                                             d our office ssurely cannott be the papeerwork mentiioned
by the witnesses durin           ositions. See Ex. A of mootion.
                     ng their depo


                                                                          SSincerely,
                                                                          //s/ Jean Wanng
                                                                          WWang Law O Office, PLLC
Enclosures



                                   Email: WLO@
                                             @wanglawooffice.com
                                          www.m
                                              meiguofa.coom
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Cc.:   VIA
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       Evan
       E     Brusteinn
       Attorney
       A        for City
                      ty Defendants




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